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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 1 of 19

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
TACOMA DIVISION

UV 3562, 0 4

IN THE MATTER OF: CAUSE No, 22 tC

Alejandro Calderon COMPLAINT AND JURY

DEMAND

Vs.
Linebarger Goggan Blair & Sampson, LLP
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)
)
PLANTIFF )
)
)
)
DEFENDANTS

NATURE OF ACTION

1. Plaintiff, Alejandro Calderon (“Plaintiff”) brings this action against Defendants
Linebarger Goggan Blair & Sampson, LLP pursuant to the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

2. Plaintiff seeks to recover monetary damages for Defendants’ violations of the

FDCPA.

JURISDICTION

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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 2 of 19

This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d), and 28 U.S.C. § 1331.

VENUE

Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where the acts
and transactions giving rise to Plaintiff's action occurred in this district, where

Plaintiff resides in this district, and where Defendant transacts business.

Venue is proper in the Western District of Washington State Tacoma Division.

PARTIES

The Plaintiff in this lawsuit is Alejandro Calderon, a natural person, who at all
relevant times resided in the State of Washington, County of Pierce, and City of

Tacoma.

A Defendant in this lawsuit is Linebarger Goggan Blair & Sampson, LLP, an entity
who at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect debts, as defined by 15 U.S.C. § 1692a(5).
The above-named Defendant is “debt collectors” as defined by 15 U.S.C. §
1692a(6).

The above-named Defendants are in the business of collecting debts by using mail
other methods to collect consumer debts owed, or are alleged to be owed, to another

person or entity.

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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 3 of 19

FACTUAL ALLEGATIONS

The “debt” as defined by 15 U.S.C. § 1692 a(5) is an alleged obligation of Plaintiff
to pay money arising out of a transaction in which the money, which is the subject

of the transaction are primarily for personal purposes.

Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

The debt was in default at the time it was obtained by Defendants.
Defendants uses instrumentalities of interstate commerce or the mails in a
business the principal purpose of which is the collection of any debts.

At a time to be found at discovery and known to Defendants, the alleged debt was
assigned or otherwise transferred to the Linebarger Goggan Blair & Sampson, LLP

for collection.

On February 5, 2022, Plaintiff received a dunning notice from Linebarger Goggan

Blair & Sampson, LLP, demanding payment of a debt of $403.09.
In notice the Defendant represented the Original Creditor as Fife Municipal Court.

The notice did not contain a statement “THIS COMMUNICATION IS AN

ATTEMPT TO COLLECT A DEBT BY A DEBT COLLECTOR”.

A true and correct copy of Defendants notice is attached as Exhibit A.

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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 4 of 19

On February 26, 2022, plaintiff sent a letter to Linebarger Goggan Blair &

Sampson, LLP disputing the debt and requesting validation pursuant to FDCPA.
A true and correct copy of Plaintiffs letter is attached as Exhibit B.

On March 21, 2022, plaintiff received a response to plaintiff's dispute and request

for validation

A true and correct copy of Defendants response letter is attached as Exhibit C.
In the response, Defendant stated that the Plaintiff owed $409.51.

In the response, Defendant stated that the Plaintiff owed $12.77.

In the response, Defendant did not indicate or provide the agreement that created the

debt, or that it could expressly charge interest.

A true and correct copy of Defendants response letter is attached as Exhibit D and

Each redlight traffic infractions ticket indicates a fine of $139.00 for a total $278.00

The Defendant did not include a court judgement or how much the plaintiff owes
according to any type of generally accepted accounting principles. in their response

to the plaintiffs dispute.

COUNT |

Page | 4

 
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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 5 of 19

VIOLATIONS OF THE FDCPA

29. Plaintiff repeats and re-alleges each factual allegation stated above.

30. Plaintiff alleges, Linebarger Goggan Blair & Sampson, LLP, violated the FDCPA

by attempting to collect a debt that has been disputed and has not been validated.
Plaintiff prays for relief and judgment, as follows:

a. Adjudging that Defendant , Linebarger Goggan Blair & Sampson, LLP,
violated the FDCPA § 1692g(b).
b. Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

amount of $1,000.

c. Awarding Plaintiff $150.00 for service fees and $402 court costs incurred in
this action:

d. Awarding Plaintiff post-judgment interest as may be allowed under the law.

e. Awarding such other and further relief as the Court may deem just and proper.

COUNT II
VIOLATIONS OF THE FDCPA

32. Plaintiff repeats and re-alleges each factual allegation stated above.

33. Plaintiff alleges, Linebarger Goggan Blair & Sampson, LLP, violated the FDCPA

by attempting to charge and collect interest.

Plaintiff prays for relief and judgment, as follows:

Page | 5

 
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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 6 of 19

a. Adjudging that Defendant , Linebarger Goggan Blair & Sampson, LLP,
violated the FDCPA § 1692f(1).

b. Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the
amount of $1,000.

C. c. Awarding Plaintiff $150.00 for service fees and $402 court costs incurred
in this action.

d. Awarding Plaintiff post-judgment interest as may be allowed under the law.

e. Awarding such other and further relief as the Court may deem just and proper.

TRIAL BY JURY
Plaintiff is entitled to and demands a trial by a jury.
Dated December 67, 2022

 

ejandro Calderon
1309 E 58th St.
Tacoma, WA 98404

Page | 6

 
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 7 of 19

Exhibit “A”
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 8 of 19

Linebarger Goggan Blair & Sampson, LLP

ATTORNEYS AT LAW
5801 Soundview Drive NW, Suite 50B
Gig Harbor, WA 98335
1(844) 576-4766 Toll-Free

JANUARY 20, 2022

Account #@aammamne
ALEJANDRO R CALDERON
1309 E 58TH ST Court iD: REDO37154
TACOMA WA 98404-2545 2 Case(s) Totaling $403.09

NOTICE OF DELINQUENT COURT FINES

Dear ALEJANDRO R CALDERON: i
Our law firm has been hired to represent the below-named court(s) (“Court’) fo collect unpaid Court fines. Court records indicate that you have an

~~ outstanding balanes of Unpaid fines das the Court Please take notice tiat your failure to pay the below-referénced delinquent accounts may

result in the delinquency being reported to Washington Department of Licensing (which could result in the suspension of your driver's license for
cases involving criminal traffic offenses, of non-renewal of your vehicle registration for cases involving parking violations); and, for cases involving
parking and civil infraction fines, in the assessment of interest of 12% per year on the total amount due on those accounts. Contact the Court if you
wish to request an “ability to pay” hearing. You may disregard this notice if you have made payment within the last 10 days.

 

 

 

i Assigned Court Gosis Current
Court Name Ceso # Principal (Collection) Interest Payments Balance
FIFE MUNICIPAL COURT REDO37154 $164.00 $31.16 $7.25 $0.00 $202.41
FIFE MUNICIPAL COURT RED940933 $164.00 $31.16 $5.52 $0.00 $200.68

|
o make payment, please return the coupén below, along with a check or money order in the amount of $403.09, made payable to LGBS. if your
check is returned unpaid, you will be liable for an administrative fee of $25.00. To pay by credit card, please call 1(844) 576-4766 or log on to
http:/Avww.igbswebpayments.com and use Client Code WACIFIMFRD and Online Payment Number 51368376.

lf you are now a debtor in bankruptey or if you have been discharged from the above debts through a bankruptcy proceeding, then within 30 days,
please provide us at the address at the top of this letter, in writing, the case number and the name of the court in which your bankruptcy case was
filed. If for any reason you find the information in this letter to be in error or you disagree with the Court records, you should notify our office
immediately. Unless you want an “ability to pay” hearing, please do not call the Court directly, as we have been retained to resolve this matter on its
behalf. We have payments options available if you are experiencing financial hardship. Our toll-free telephone number is 1(844) 576-4766.

Linebarger Goggan Blair & Sampson, LLP (“LGBS")

 

 

 

Court ID: RED03/154

2 Casa(s) Totaling $403.09
Linebarger Goggan Blair & Sampson, LLP Amount Due: $403.09 as of JANUARY 20, 2022
PO BOX 659443 I Amount Enclosed:

SAN ANTONIO TX 78265-0443

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account number, court number, neme, and address.

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check.

ALEJANDRO R CALDERON
4309E58THST
LGBS, LLP
TACOMA WA 98404-2545 CUENT CODE: WAGIFIMFRD

FeneDbadyeegQenqee fg QQ yong ED gganenad a EEL lgtaglyy PO BOX 70211
SAN ANTONIO TX 78270-2118

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Make check or money order payable to "LGBS" and Include your

To pay by credit card, call 1(844) 576-4766 or scan the QR code
and use Cilent Code WACIFIMFRD and Online Payment Number

When you provide a check as payment, you authorize us to either
use information from your check to make a one-time electronic
fund transfer from your account or to process the payment as a
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 9 of 19

Exhibit “B”
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 10 of 19

Alejandro Calderon
1309 East 587 Street
Tacoma, WA 98404
2/26/2022

Account # waenens. |

Linebarger Goggan Blair & Sampson, Lip
5801 Soundview Dr,
Gig Harbor, WA 98335

Linebarger Goggan Blair & Sampson, Llp,

This is not a refusal to pay, but a notice that your claim is disputed. I dispute the
creditor’s name, balance, any fees or interest that has been added and the fact that you can
add any fee or interest to the original balance,

This is a request for validation made pursuant to the Fair Debt Collection Practices Act
and Washington’s Fair Debt Collection Act.

Please be advised that J am not requesting a “verification” that you have my mailing
address, I am requesting a “validation:” that is, competent evidence that I have some
contractual obligation to this debt. Please provide me the name of the creditor.

Sincerely. ar
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Alej o Calderon
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 11 of 19

Exhibit “C”
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 12 of 19

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EBARGER GOGGAN BLAIR & SAMPSON, LLP
ATTORNEYS AT LAW
P.O. Box 702118
San Antonio, TX 78270

 

March 10, 2022

CALDERON, ALEJANDRO R
1309 E 58TH ST

TACOMA WA 98404
Via Email:

Re: FIFE MUNICIPAL COURT
Case Number(s): ‘ RED037154 and RED040933
Account Number(s): S0Qjiliiags and-amtaaeas
Amount Due: $409.51

{
;

Dear CALDERON, ALEJANDRO R

In accordance with our conversation, please find enclosed the attached debt verification that
you requested. |

If you have any further questions, please contact our office at 1-877-242-9467,
Respectfully,

Jon. Boquist.-.- 0 —
Call Center Manager

This communication is from a debt collector and any information obtained will be used ‘for that purpose .

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Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 13 of 19

Exhibit “D”
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 14 of 19

NOTICE OF RED LIGHT INFRACTION
City of Fife Traffic Safety Enforcement

Ticket Number: RED037154-

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TAY (LA

This ticket will be filed with Fife Municipal Court +3737 Pacific Highway E, Suite 100, Fifa, WA 98424

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Violation Date: Time: : .
06/03/2021 18:22:10 | | Fine Amount: $139
Location of infraction:
Pacific Hwy EB @ Alexander Ave
Plate: State: Amber Time: Red Light Time:
~-BYL8997-- -..]~WA---- -3.5-5- --0.5 =
Year: Make: Model: | Body Style: | Color:
2016 HOND_ CIV
Violator: ;
CALDERON, ALEJANDRO R
Street Address:
3105S 47TH ST APT E49 -
City: State:) Zip:
TAGOMA WA 98409
Ragistered Owner. i
CALDERON, ALEJANDRO R
Street Address:
3105 S 47TH ST APT E49
City: State: Zip:
TACOMA WA 98409

 

 

The above listed vehicle registered in your name was photographed failing to stop at a red
light, which is in violation of RCW 46.61 -050 ‘pursuant to 46.63,170 and Fife Municipal Code
10.60 et seq.

This notice represents a determination that an infraction has been committed by the person
named in the notice and the determination shall be final unless contested as provided in

‘

RCW 46.63.060(2)(a). An infraction is a non-criminal offense for which imprisonment may —
not be imposed as sanction. The penaity for a photo-enforced infraction may include
non-renewal of the vehicle registration as per RCW 46. 63.060(2)(b).

DO NOT IGNORE THIS NOTICE: You must respond to this notice on or before. 06/26/2021
As registered owner, you are responsible for:any additional fees, fines and costs.

Officer’s Certificate: / certify under penalty of perjury under the laws of the State of Washington
that there are reasonable grounds/probable cause to believe and do believe that the described
vehicle/person was in violation of the above listed ordinance/stafute and that the foregoing is true

 

= ~ ———

| Sworn to or affirmed in Fife, WA by:

 

 

 

 

| Fite Limited Commission Officer: Date: | Badge:
Fr Neem Ki cnsn 06/08/2021 660

 

 

You may view your | Wave ren

violation images and video online and ETE: -
pay your fine at: i Or 855-873-9711 Mon-Fri. 5 AM to 5 PM (PST)
Please enter Plate Number and Password Saturday 7 AM to 11 AM (PST)

Provided below to enter the secure website.) prwaraeEre eT TEREST: Eee NE
Fife Municipal Court

Pome ae 3737 Pacific Highway E, Suite 100, Fife, WA 98424
Amount Due: $139 Mon, Tues, Thurs & Fri 8:30 AM — 4:30 PM (PST)

Due Date: 06/26/2021 Weds. 9:30 AM — 4:30 PM (PST), Tel: 253-922-6635
Violation Number: REDO37154 WE ACCEPT IN PERSON: Cash, Check, Money Order,

Visa, MasterCard, AmEx, and Discover
* DO NOT MAIL CASH * For proper payment processing
include this retum stub with ALL mailed payments,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Detach here and retum with your payment _

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You may be able to enter into a
payment plan with the Court under
RCW 46.63.110(6)

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Fife Municipal Court

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Please see reverse side

PLEASE NOTE: A convenience
fee will be added for all credit card
and e-check payments
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 15 of 19

Exhibit “E”
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 16 of 19

NOTICE OF RED LIGHT INFRACTION
City of Fife Traffic Safety Enforcemen
|

t

“Ticket Number: RED040933

| Plate Number: BYL8997
Password: — tFidR6wH
View your violation at
www.ZeroFatality.com
ALEJANDRO R CALDERON
3105 S 47TH ST APT E49 |

TACOMA, WA 98409 |

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1021000000433634

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

This ticket will be filed with Fife Municipal Court + 3737 Pacific Highway E, Su!

Mc

ite 100, Fife, WA 98424

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Violation Date: Time: 7
06/28/2021 16:53:30 Fine Amount: $139
Location of infraction:
Pacific Hwy EB @ Alexander Ave
Plate: State: Amber Time: Red Light Time:
BYL8997-—~- }-WA- —--—-~|--g.5- = Ss So ee
Year: Make: Model: | Body Style: Color:
2016 HOND CclV
Violator: i
CALDERON, ALEJANDRO R
Street Address: ‘
3105 S 47TH ST APT E49 |
City: State: ; Zip:
TAGOMA WA 98409
Registered Owner:
CALDERON, ALEJANDRO R
Street Address:
| 3105 S 47TH ST APT E49
Clty: : State: Zip:
TACOMA WAI 98409

 

10.60 et seq. i
This notice represents a determination that an infraction has been co

The above listed vehicle registered in your name was photographed failing to stop at a red
light, which is in violation of RCW 46.61.050 [pursuant to 46.63.170 and Fife Municipal Code

named in the notice and the determination shall be final-unless contested as provided in

mmitted by the person

RCW 46.63.060(2)(a). An infraction is a non-criminal offense for which imprisonment may
not be imposed as sanction. The penalty for a photo-enforced infraction may include
non-renewal of the vehicle registration as per RCW 46.63.060(2)(b).

DO NOT IGNORE THIS NOTICE:

 

 

You must respond to this notice on or before. 07/26/2021
As registered owner, you are responsible for any additional fees, fines and costs.

Officer's Certificate: | certify under penalty of perjury under the laws of the State of Washington
that there are reasonable grounds/probable cause to believe and do believe that the described
vehicle/person was in violation of the above listed ordinance/statute and that the foregoing is true

 

 

 

 

 

 

 

and correct — on meen

Sworn to or affirmed in Fife, WA by:

Fife Limited Commission Officer: Date: | Badge:
th 6 Onayyr, 07/07/2021 265
NANTES Youmayviewyour. § EWESeT TS Visa (scever
violation Images and video online and — Piease call 253-344-4053. ad ail

pay your fine at:
Please enter Plate Number and Password
provided below to enter the secure website.

Plate Number: ee

Password: tFidRéw!

Amount Due: $139 Mon, Tues, Thurs &
Due Date: 07/26/2021

Violation Number: RED040933

 

 

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RED

 

 

 

 

 

 

 

 

 

 

 

 

HN

 

 

i Or 855-873-9711 Mon-Fri. 5 AM to 5 PM (PST)
Saturday 7 AM to 14 AM (PST)

a Sete) Eee ole Se a len De

Fife Municipal Court
3737 Pacific Highway E, Suite 100, Fife, WA 98424

Fri 8:30 AM — 4:30 PM (PST)

Weds. 9:30 AM — 4:30 PM (PST), Tel: 259-922-6635
WE ACCEPT IN PERSON: Cash, Check, Money Order,
Visa, MasterCard, AmEx, and Discover

* DO NOT MAIL CASH * For proper payment processing
include this retum stub with ALL mailed payments.

 

 

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You may be able to enter into a
payment plan with the Court under
RCW 46.63.110(6)

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Fife Municipal Court

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Please see reverse side

PLEASE NOTE: A convenience
fee will be added for all credit card
and e-check payments
JS 44 (Rev. 04/21)

Case 3:22-CV-05962- PGE Pesan Hilep F2/12/22 Page 17 of 19

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Alejandro Calderon

(b) County of Residence of First Listed Plaintiff Pierce
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

DEFENDANTS

 

NOTE: INLAND GONDEMINSTION CASES i
THE TRAGT OF LANDINVOLVED._ RECEIVED
Attorneys (if Kno’

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

Tl. CITIZENSHIP OF

(For Diversity Cases Ontyt

 
  

Linebarger Goggan Blair & Sampson, LLP

County of Residence of First Listed Defendant Pierce

 

e Box for Plaintiff
Vafendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[]1 U.S. Government [x]3 Federal Question PIF DEF “PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 [CL] 1 Incorporated or Principal Place [i4¢ [x4
of Business In This State
Ct] 2 US. Government C1 4 Diversity Citizen of Another State LC 2 CI 2 Incorporated and Principal Place Cl 5 Cl 3
Defendant (Indicate Citizenship of Parties in Item HI} of Business In Another State
Citizen or Subject of a [13 [1] 3. Foreign Nation Cle (6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for:
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Aiplane [] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Aisplane Product Product Liability [] 690 Other 28 USC 157 ~ 3729(a))
140 Negotiable Instrument Liability C} 367 Health Care/ INTELLECTUAL 400 State Reapportionment
[_] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
15] Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability ["] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Exctudes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud | 710 Fair Labor Standards Act of 2016 . (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [|__| 380 Other Personal | _]720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (13958) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
|] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ = Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | _|790 Other Labor Litigation 865 RSI (405(g)) [_] 891 Agricultural Acts
210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: |_|791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
{ }230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate i | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General r | 871 IRS—Third Party 899 Administrative Procedure
[_]290 All Other Real Property  [__] 445 Amer. w/Disabilities -[_] 535 Death Penalty TMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|_| 446 Amer. w/Disabilities -] | 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
1 Original Ol 2 Removed from 3  Remanded from oO 4 Reinstated or 4 Transferred from 6 Multidistrict m8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
12 USC 1692
VI. CAUSE OF ACTION Brief description of cause:
violation of the FOCPA
VII REQUESTED IN  ([(] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. seer 155) 00 JURY DEMAND: _ [xlYes []No
VII. RELATEDCASES)
IF ANY (Bee insirucions): SUD GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
12-68-2022
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 18 of 19

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western DistrigoefrWastington
Alejandro Calderon )
)
)
)
Plaintif{(s) )
v. Civil Action No.
Linebarger Goggan Biair & Sampson, LLP )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

Linebarger Goggan Biair & Sampson, LLP
To: (Defendant’s name and address) 5301 Soundview Dr,
Gig Harbor, WA 98335

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) ——- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, dean Sh, or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: 4399 E 58th St.

Tacoma, WA 98404
Alexerectors@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _
Signature of Clerk or Deputy Clerk
Case 3:22-cv-05962-DGE Document1 Filed 12/12/22 Page 19 of 19

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